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                                        ORDERED.


     Dated: December 23, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


IN RE:                                              Case No. 8:19-bk-06510-CPM

LUZ M. ARJONA AKA LUZ ARJONA AKA                    Chapter 7
LUZ MARIA ARJONA,
            Debtor.
______________________________________/

              AGREED ORDER GRANTING MOTION FOR RELIEF FROM STAY
                             IN FAVOR OF LOANCARE, LLC
                 [Re: 11128 Hartford Fern Dr, Riverview, Florida 33569-2237]

         THIS CASE came before the Court for hearing on December 16, 2019 upon the Motion
for Relief from Automatic Stay [D.E. #17] (the “Motion”) filed by LoanCare, LLC (“Secured
Creditor”) and the Response to Motion for Relief from Automatic Stay of LoanCare, LLC
[D.E.#18] (the“Response”) filed by the Chapter 7 Trustee. For the reasons stated orally and
recorded in open court, it is,
         ORDERED:
         1.      Secured Creditor’s Motion is granted.
         2.      The automatic stay imposed by reason of 11 U.S.C. § 362 is terminated effective
ninety (90) days from the entry of this Order with respect to the real property located at property
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located at 11128 Hartford Fern Dr, Riverview, Florida 33569-2237 (the, “Property”) which is
legally described as:
                  LOT 6, BLOCK J OF MOSS LANDING PHASE 3,
                  ACCORDING TO THE PLAT THEREOF AS RECORDED IN
                  PLAT BOOK 108, PAGE(S) 239 THROUGH 254, OF THE
                  PUBLIC RECORDS OF HILLSBOROUGH COUNTY,
                  FLORIDA.

       3.       This Order Granting the Motion is entered for the sole purpose of allowing
Secured Creditor to pursue its lawful in rem remedies against the Property. Secured Creditor
shall neither seek nor obtain an in personam judgment against Debtor(s).
       4.       All communications sent by Secured Creditor in connection with proceeding
against the Property including, notices required by state law and communications to offer and
provide information with regard to a potential Forbearance Agreement, Loan Modification,
Refinance Agreement, Loss Mitigation Agreement or other Loan Workout, may be sent directly
to Debtor(s).


                                                  ###
Order submitted by:
Wanda D. Murray
Attorney for Secured Creditor
Aldridge Pite, LLP
Fifteen Piedmont Center
3575 Piedmont Road, N.E., Suite 500
Atlanta, GA 30305
Phone: (404) 994-7400
Fax: (619) 590-1385
Email: WMurray@aldridgepite.com
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Attorney Wanda D. Murray is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order.

DEBTOR ATTORNEY
(via electronic notice)

Jose Hernandez-Sosa
jehzsa@tampabay.rr.com

DEBTOR
Luz M. Arjona
11128 Hartford Fern Dr.
Riverview, FL 33569


TRUSTEE
(via electronic notice)
Carolyn R. Chaney
carolyn.chaney@earthlink.net

UNITED STATES TRUSTEE
(via electronic notice)
United States Trustee - TPA7/13, 7
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602
USTPRegion21.TP.ECF@USDOJ.GOV
